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             Exhibit A
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From:                 Steven Fama
To:                   Kate Falkenstien; Corene Kendrick; Rita Lomio
Subject:              RE: Prison conditions litigation
Date:                 Tuesday, June 13, 2017 1:42:42 PM


Hi Kate Falkenstein,

My understanding, based on what the Court experts stated in the Coleman case, is that in
prisons/jails nationwide, regular round-the-clock security checks have been and are standard
practice on people in maximum security/minimum privilege (aka lock-up) housing units. CDCR was
late to the practice, and started such checks (and documenting them via Guard One) a couple years
ago, essentially as part of an order in the Coleman case. There were concerns raised about sleep
disruption caused by Guard One/the safety checks, especially in the Pelican Bay Security Housing
Unit because of the unique design of that facility. There, the checks are done once per hour,
consistent with what had happened for a number of months before the Guard One technology was
implemented at that facility. I believe it is fair to say that the fact of security checks in CDCR’s lock-
up units, documented via Guard One, is no longer an active issue in the Coleman case.

I hope this helps.

Steven Fama
Staff Attorney
Prison Law Office

From: Kate Falkenstien [mailto:KFalkenstien@McKoolSmithHennigan.com]
Sent: Tuesday, June 13, 2017 1:32 PM
To: Corene Kendrick; Steven Fama; Rita Lomio
Subject: RE: Prison conditions litigation

Hi Corene, Steven, and Rita:

I’m working on a case about the Guard One system for suicide prevention and its effects on inmate
sleep. My firm hasn’t done prison litigation before (and my only experience was a case you referred
to the Religious Liberty Clinic when I was a law student), so we have been looking for someone with
experience in this area who would be willing to talk to us briefly. It would be particularly helpful to
talk to someone at your organization because I know you have been involved in Coleman, and it
would be great to get your perspective on the Guard One checks from that angle. I’m sure you’re all
quite busy, but if you’d be willing to have a short call with me and my co-counsel, we would greatly
appreciate your thoughts.

Best,

Kate Falkenstien | Associate | McKool Smith Hennigan
255 Shoreline Drive, Suite 510, Redwood Shores, CA 94065
Telephone: (650) 394-1413

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From: James A. Sonne [mailto:jsonne@law.stanford.edu]
Sent: Monday, June 05, 2017 2:33 PM
To: Kate Falkenstien
Cc: Corene Kendrick; Steven Fama; Rita Lomio
Subject: Re: Prison conditions litigation

Kate,

It's so great to hear from you. I'm taking the liberty of copying here some of our dear friends at
the Prison Law Office. I'm hopeful you and they will be able to connect on this. Thanks so
much for taking on this very important project.

Best,
Jim
James A. Sonne
Associate Professor of Law
Director, Religious Liberty Clinic
Stanford Law School
559 Nathan Abbott Way
Stanford, CA 94305-8610
Tel: 650-723-1422; Fax: 650-723-4426
jsonne@law.stanford.edu




On Mon, Jun 5, 2017 at 10:37 AM, Kate Falkenstien
<KFalkenstien@mckoolsmithhennigan.com> wrote:
Hi Professor Sonne,

I hope you and the clinic are doing well! I'm working at a law firm in Redwood City now.
I'm really excited to be working on another prison law case here as a pro bono project, and I
wanted to ask you a question about it. The case is about a policy in California prisons of using
a noisy system to make sure guards check on inmates in solitary confinement regularly, to
reduce suicides. The noise from the checks wakes up all the inmates in solitary confinement
once an hour, 24/7, and we think the sleep deprivation is doing more harm than good.

Anyway, I am emailing you because this is the first prison conditions lawsuit my office has
filed, and we are hoping to find someone who does prison litigation regularly who might be
willing to talk to us briefly about our strategy. I think I remember that in clinic we used to get
cases referred from the Prison Law Office. I know they have been involved in related
litigation about providing adequate mental healthcare in prisons, and it would be great to get
their perspective on this policy. I wondered if you would be willing to connect me with
someone there I could reach out to (or anyone else involved in prison litigation who might be
willing to talk to us). I think there must be a way to keep suicidal inmates safe while still
ensuring everybody can get a reasonable amount of sleep, and it would certainly help to talk to
someone who does this kind of litigation regularly.

I really appreciate any leads. Thank you!

Best,
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Kate

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